   Case 4:07-cr-00239-WTM-GRS Document 205 Filed 10/22/08 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA
                          SAVAISINAH DIVISION                           F   2
UNITED STATES OF AMERICA


                                     CASE NO. CR407-239
CHRISTINA STONE, et al.,         )

     Defendants.
                                 )

                               ORDER

     Before the Court is a letter from Counsel for Defendant

Kristi Shaw.     (Doc. 204.)    In the letter, Counsel noted that,

unlike many of her co-defendants, the Court did not recommend

that Defendant Shaw receive credit toward her sentence for the

period of time she spent in custody after arrest and prior to

sentencing.    Counsel requests that the Court amend Defendant

Shaw's Judgment to include that recommendation.               The Court

construes the letter as a Motion to Correct Sentence under

Federal Rule of Criminal Procedure 35(a) or 36. After careful

consideration, the Court finds no error in the Court's sentence.

Accordingly, Defendant Shaw's Motion is DENIED.

     SO ORDERED this   Z2day of October, 2008.


                           WILLIAM T. MOORE, JR., C     JUDGE
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
